                      IN THE SUPREME COURT OF NORTH CAROLINA

                                              2021-NCSC-1

                                              No. 213A20

                                       Filed 5 February 2021

      IN THE MATTER OF: C.L.H.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 22

     January 2020 by Judge Christy E. Wilhelm in District Court, Cabarrus County. This

     matter was calendared for argument in the Supreme Court on 6 January 2021 but

     determined on the record and brief without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


            No brief for petitioner-appellee mother.

            No brief for appellee Guardian ad Litem.

            Anné C. Wright for respondent-appellant father.


            EARLS, Justice.

¶1          Respondent appeals from the trial court’s order terminating his parental rights

     to C.L.H. (Cash).1 After careful review, we conclude that this case is in large part

     controlled by In re K.N., 373 N.C. 274, 837 S.E.2d 861 (2020), necessitating that we

     reverse in part and vacate and remand in part.

¶2          Respondent is the biological father of Cash, and petitioner is Cash’s biological



            1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading. See N.C. R. App. P. 42(b)(1).
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     mother. Cash was born in 2009 following a brief relationship between respondent and

     petitioner. Respondent and petitioner never married. On 19 August 2011, respondent

     and petitioner entered into a parenting agreement by which petitioner was granted

     primary custody of Cash, and respondent was granted visitation. Respondent and

     petitioner also entered into a child support consent order by which respondent agreed

     to pay petitioner $433 per month and fifty percent of any uninsured medical bills

     after the first $250 was paid by petitioner. However, neither the facts alleged in the

     termination petition and admitted in the answer nor the trial court’s factual findings

     indicate whether the child support consent order was in effect during the year

     preceding the filing of the termination petition. The last known contact between

     respondent and Cash was in April 2018.

¶3         On 1 May 2018, the trial court held a hearing after petitioner filed a motion in

     the cause for modification of custody and to hold respondent in contempt. Petitioner

     stated that she filed the motion because of concerns she had regarding events that

     occurred during Cash’s visitation with respondent. Specifically, petitioner testified

     that Cash was visiting respondent on 25 February 2018 when she received a phone

     call claiming that she needed to pick up Cash because respondent had a medical issue.

     At the time, respondent was living in a camper behind his parents’ home, and Cash

     would stay in the grandparents’ home while visiting with respondent. When

     petitioner arrived at the grandparents’ home, she found that respondent had been
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     taken to the hospital. Petitioner testified that she went into respondent’s camper to

     retrieve Cash’s belongings and that it was “smoky” and smelled “chemically.” On 13

     June 2018, the trial court entered an order in which it found as fact that Cash found

     respondent unresponsive and sought help because respondent was “overdosing on

     heroin.” The trial court found respondent to be unfit to provide for Cash’s physical,

     emotional, and financial well-being and granted petitioner sole physical and legal

     custody of Cash. The trial court also terminated respondent’s visitation with Cash.

¶4         On 30 January 2019, petitioner filed a petition to terminate respondent’s

     parental rights to Cash. Petitioner alleged that grounds existed to terminate

     respondent’s parental rights for neglect, willful failure to pay child support,

     dependency, and willful abandonment. N.C.G.S. § 7B-1111(a)(1), (4), (6)–(7) (2019).

     On 10 April 2019, respondent filed an answer in which he opposed the termination of

     his parental rights. On 22 January 2020, the trial court entered an order in which it

     determined grounds existed to terminate respondent’s parental rights pursuant to

     N.C.G.S. § 7B-1111(a)(1), (4), and (6). The trial court further determined that it was

     in Cash’s best interests that respondent’s parental rights be terminated. Respondent

     appeals.

¶5         Respondent argues that the trial court erred by concluding that grounds

     existed to terminate his parental rights. “Our Juvenile Code provides for a two-step

     process for termination of parental rights proceedings consisting of an adjudicatory
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     stage and a dispositional stage.” In re Z.A.M., 374 N.C. 88, 94, 839 S.E.2d 792, 796–

     97 (2020) (citing N.C.G.S. §§ 7B-1109, -1110 (2019)). “At the adjudicatory stage, the

     petitioner bears the burden of proving by ‘clear, cogent, and convincing evidence’ the

     existence of one or more grounds for termination under section 7B-1111(a) of the

     General Statutes.” In re A.U.D., 373 N.C. 3, 5–6, 832 S.E.2d 698, 700 (2019) (quoting

     N.C.G.S. § 7B-1109(f) (2019)). We review a trial court’s adjudication of grounds to

     terminate parental rights “to determine whether the findings are supported by clear,

     cogent and convincing evidence and the findings support the conclusions of law.” In

     re E.H.P., 372 N.C. 388, 392, 831 S.E.2d 49, 52 (2019) (quoting In re Montgomery, 311

     N.C. 101, 111, 316 S.E.2d 246, 253 (1984)). “The trial court’s conclusions of law are

     reviewable de novo on appeal.” In re C.B.C., 373 N.C. 16, 19, 832 S.E.2d 692, 695

     (2019).

¶6         In this case, the trial court determined that grounds existed to terminate

     respondent’s parental rights based on neglect, willful failure to pay child support, and

     dependency. N.C.G.S. § 7B-1111(a)(1), (4), and (6). We begin our analysis with

     consideration of whether grounds existed to terminate respondent’s parental rights

     for neglect, pursuant to N.C.G.S. § 7B-1111(a)(1).

¶7         A trial court may terminate parental rights where it concludes the parent has

     neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S. § 7B-

     1111(a)(1). A neglected juvenile is defined, in pertinent part, as a juvenile “whose
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     parent, guardian, custodian, or caretaker does not provide proper care, supervision,

     or discipline; . . . or who lives in an environment injurious to the juvenile’s welfare.”

     N.C.G.S. § 7B-101(15) (2019).

                   Termination of parental rights based upon this statutory
                   ground requires a showing of neglect at the time of the
                   termination hearing or, if the child has been separated
                   from the parent for a long period of time, there must be a
                   showing of past neglect and a likelihood of future neglect
                   by the parent.

     In re D.L.W., 368 N.C. 835, 843, 788 S.E.2d 162, 167 (2016) (citing In re Ballard, 311

     N.C. 708, 713–15, 319 S.E.2d 227, 231–32 (1984)). “When determining whether such

     future neglect is likely, the district court must consider evidence of changed

     circumstances occurring between the period of past neglect and the time of the

     termination hearing.” In re Z.V.A., 373 N.C. 207, 212, 835 S.E.2d 425, 430 (2019)

     (citing In re Ballard, 311 N.C. at 715, 319 S.E.2d at 232)).2

¶8          Here, Cash was not in respondent’s custody at the time of the termination

     hearing and had not been since at least 13 June 2018, when the trial court awarded

     petitioner sole physical and legal custody of Cash. The last known contact between

     respondent and Cash was in April 2018, approximately 18 months before the



            2 As we have noted in our recent opinion in In re R.L.D., No. 122A20, slip op. at 5 n.3

     (N.C. Dec. 11, 2020), it is not necessary in every case that a petitioner make a showing of past
     neglect and of a probability of future neglect to support a determination that a parent’s
     parental rights in a juvenile are subject to termination on the basis of neglect pursuant to
     N.C.G.S. § 7B-1111(a)(1). Such a determination is also permissible in the event that there is
     a showing of current neglect as defined in N.C.G.S. § 7B-101(15).
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       termination hearing. Additionally, because this case does not arise from involvement

       by the Department of Social Services, no petition alleging neglect was ever filed, and

       Cash was never adjudicated to be a neglected juvenile.

¶9           The sole finding of fact potentially supporting a conclusion that respondent had

       previously neglected Cash was finding of fact 17(a). In finding of fact 17(a), the trial

       court found that

                    [r]espondent was unable to care for [Cash] during the
                    February 2018 incident, whether it was due to a drug
                    overdose or some other medical condition, for some period
                    of time the child was not cared for and there does not
                    appear that there was a proper plan in place for alternative
                    care.

       Respondent argues that the portion of finding of fact 17(a) which states that Cash

       was not cared for during the February 2018 incident is not supported by clear, cogent,

       and convincing evidence. We agree. The only evidence in the record concerning Cash’s

       care during this incident was that he stayed in his grandparents’ home when visiting

       with respondent, that his paternal grandfather was the person who called for help

       with respondent’s medical issue, and that petitioner was called to pick up Cash from

       the grandparents’ home. There was no evidence presented that Cash was not cared

       for during this incident. Accordingly, we disregard this portion of finding of fact 17(a).

       See In re J.M.J.-J., 374 N.C. 553, 559, 843 S.E.2d 94, 101 (2020) (disregarding

       adjudicatory findings of fact not supported by clear, cogent, and convincing evidence).

¶ 10         We further note that the trial court’s findings of fact, even if supported, shed
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       little light on how this incident, and the alleged absence of care, impacted Cash. See

       In re K.L.T., 374 N.C. 826, 831, 845 S.E.2d 28, 34 (2020) (“In order to constitute

       actionable neglect, the conditions at issue must result in ‘some physical, mental, or

       emotional impairment of the juvenile or a substantial risk of such impairment.’ ”

       (citation omitted)). Further, assuming arguendo that the incident and alleged lack of

       care constituted prior neglect, the trial court did not find that there would be a

       likelihood of future neglect should Cash be returned to respondent’s care, nor do the

       trial court’s sparse findings of fact support such a conclusion. See In re K.N., 373 N.C.

       at 282, 837 S.E.2d at 867 (stating that in light of the juvenile’s prior adjudication of

       neglect and his resulting removal from the home, “we must evaluate whether there

       are sufficient findings of fact in the termination order to support the trial court’s

       ultimate conclusion that there is a likelihood of future neglect by respondent”).

       Therefore, we hold the trial court erred by concluding that grounds existed pursuant

       to N.C.G.S. § 7B-1111(a)(1) to terminate respondent’s parental rights.

¶ 11         We next consider whether the trial court properly concluded that grounds

       existed to terminate respondent’s parental rights for dependency, pursuant to

       N.C.G.S. § 7B-1111(a)(6). A trial court may terminate parental rights based on

       dependency when “the parent is incapable of providing for the proper care and

       supervision of the juvenile, such that the juvenile is a dependent juvenile within the

       meaning of [N.C.G.S. §] 7B-101, and that there is a reasonable probability that the
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       incapability will continue for the foreseeable future.” N.C.G.S. § 7B-1111(a)(6). A

       dependent juvenile is defined as “[a] juvenile in need of assistance or placement

       because (i) the juvenile has no parent, guardian, or custodian responsible for the

       juvenile’s care or supervision or (ii) the juvenile’s parent, guardian, or custodian is

       unable to provide for the juvenile’s care or supervision and lacks an appropriate

       alternative child care arrangement.” N.C.G.S. § 7B-101(9). The incapability under

       N.C.G.S. § 7B-1111(a)(6) “may be the result of substance abuse, intellectual

       disability, mental illness, organic brain syndrome, or any other cause or condition

       that renders the parent unable or unavailable to parent the juvenile and the parent

       lacks an appropriate alternative child care arrangement.” N.C.G.S. § 7B-1111(a)(6).

       To adjudicate the ground of dependency, the trial court “must address both (1) the

       parent’s ability to provide care or supervision, and (2) the availability to the parent

       of alternative child care arrangements.” In re K.R.C., 374 N.C. 849, 859, 845 S.E.2d

       56, 63 (2020) (citation omitted).

¶ 12         Here, the sole express finding of fact made by the trial court regarding this

       statutory ground was that “the ground of dependency exists in that there was no

       proper plan for care of the minor child.” Arguably, the trial court’s finding of fact 17(a)

       concerning the February 2018 incident and the lack of an alternative plan of care for

       Cash was also related to this statutory ground. However, the trial court made no

       finding of fact, and there was no evidence presented, that at the time of the
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       termination hearing respondent suffered from any condition which rendered him

       incapable of providing proper care or supervision to Cash. The only evidence

       presented that possibly supported a conclusion that respondent was incapable of

       parenting Cash was the incident in February 2018, which occurred over 18 months

       prior to the termination hearing. See In re Z.D., 258 N.C. App. 441, 452, 812 S.E.2d

       668, 676 (2018) (holding that the evidence was insufficient to support termination of

       respondent’s parental rights based on dependency where “[r]espondent’s mental

       health and parenting abilities pertain[ed] more to the historic facts of the case that

       occurred at least a year prior to the hearing, and the order contain[ed] no specific

       findings regarding [r]espondent’s condition, mental health, and alleged incapability

       at the time of the hearing”). Accordingly, we hold that the trial court erred by

       concluding that grounds existed pursuant to N.C.G.S. § 7B-1111(a)(6) to terminate

       respondent’s parental rights.

¶ 13         Finally, we consider the trial court’s conclusion that grounds existed pursuant

       to N.C.G.S. § 7B-1111(a)(4) to terminate respondent’s parental rights for his willful

       failure to pay for the child’s care without justification. A trial court may terminate a

       parent’s parental rights pursuant to this statutory ground when

                    [o]ne parent has been awarded custody of the juvenile by
                    judicial decree or has custody by agreement of the parents,
                    and the other parent whose parental rights are sought to
                    be terminated has for a period of one year or more next
                    preceding the filing of the petition or motion willfully failed
                    without justification to pay for the care, support, and
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                    education of the juvenile, as required by the decree or
                    custody agreement.

       N.C.G.S. § 7B-1111(a)(4). We agree with the Court of Appeals that, when seeking to

       terminate parental rights pursuant to this statutory ground, “petitioner must prove

       the existence of a support order that was enforceable during the year before the

       termination petition was filed.” In re I.R.L., 263 N.C. App. 481, 485, 823 S.E.2d 902,

       905 (2019) (quoting In re Roberson, 97 N.C. App. 277, 281, 387 S.E.2d 668, 670
       (1990)). When the trial court fails to make findings of fact “indicating that a child

       support order existed or that [the parent] failed to pay support ‘as required by’ the

       child support order,” its findings are insufficient to support the conclusion that

       grounds for termination exist pursuant to N.C.G.S. § 7B-1111(a)(4). Id. at 486, 823

       S.E.2d at 906.

¶ 14          In In re I.R.L., the Court of Appeals concluded that the trial court’s findings

       were insufficient to support a conclusion that the father’s parental rights were subject

       to termination pursuant to N.C.G.S. § 7B-1111(a)(4). Id. The Court of Appeals noted

       that

                    while both parties testified that a child support order was
                    entered in December 2014 ordering [the] father to pay
                    $50.00 per month in child support, the trial court’s
                    termination order [was] devoid of any findings indicating
                    that a child support order existed or that [the f]ather failed
                    to pay support “as required by” the child support order.

       Id. Here, the trial court made no findings of fact that a child support order existed in
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       the year prior to the filing of the petition to terminate respondent’s parental rights.

       Consequently, we conclude that the trial court’s findings of fact are insufficient to

       support the termination of respondent’s parental rights based on N.C.G.S. § 7B-

       1111(a)(4).

¶ 15          The dissent, urging affirmance of the trial court’s decision, attempts to

       distinguish In re I.R.L. by pointing out that the trial court’s order in that case was

       “devoid of any findings indicating that a child support order existed or that [the

       respondent] failed to pay support ‘as required by’ the child support order.” In re I.R.L.,

       263 N.C. App. at 486, 823 S.E.2d at 906. However, as discussed above, the trial court’s

       order in the instant case is similarly deficient. The dissent also points to the fact that

       “the only evidence [in In re I.R.L.] supporting the existence of a child support order

       was the testimony of both parties.” However, the source of the evidence, as opposed

       to its existence in the record, does not affect our decision on this issue. When

       reviewing an order terminating parental rights, our task as an appellate court is “to

       determine whether the findings are supported by clear, cogent and convincing

       evidence and the findings support the conclusions of law.” In re Z.A.M., 374 N.C. at

       94, 839 S.E.2d at 797 (quoting In re C.B.C., 373 N.C. at 19, 832 S.E.2d at 695). Just

       as in this case, the trial court in In re I.R.L. failed to find as a fact that a child support

       order existed, and that the respondent had violated it, despite the existence of

       evidence in the record that would have supported such a finding. In re I.R.L., 263
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       N.C. App. at 486, 823 S.E.2d at 906. The source of that evidence, so long as it is clear,

       cogent, and convincing, is not relevant to our analysis. There is no material

       distinction between this case and In re I.R.L.

¶ 16         We note that here there appears to be evidence in the record which might

       support a conclusion that grounds existed to terminate respondent’s parental rights

       pursuant to this statutory ground. First, petitioner alleged in the termination

       petition, and respondent admitted in his answer, that the parties had entered into a

       child support consent order.3 Neither the allegation nor the admission, however,

       establish that the support order was in effect during the year prior to the filing of the

       termination petition. See N.C.G.S. § 7B-1111(a)(4) (permitting termination of

       parental rights if a parent has failed to pay support as required by a decree or custody

       agreement “for a period of one year or more next preceding the filing of the petition

       or motion”). Second, petitioner testified that there was a child support order in place

       at the time of the termination hearing.

¶ 17         Also on this ground, the trial court found as fact, and respondent does not

       dispute, that respondent “paid no support, whether child support or other monetary

       support for the benefit of the minor child since September 2015.” Respondent does,




             3  The admitted allegation reads: “Within the same Cabarrus County file, the
       Petitioner and Respondent entered into a child support consent order wherein the
       Respondent agreed to pay the Plaintiff the sum of $433 per month and fifty percent (50%) of
       any uninsured medical bills after the first $250 is paid by the Petitioner.”
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however, argue that the trial court failed to make any findings of fact regarding

whether his failure to pay support was willful, and, thus, the trial court’s conclusion

on this issue was not supported by its factual findings. It is not necessary to resolve

this argument because we have determined that the trial court failed to make factual

findings that respondent failed to pay for the care, support, and education of the

juvenile within the year prior to the filing of the termination petition “as required by

the decree or custody agreement.” See N.C.G.S. § 7B-1111(a)(4). We note, however,

that the existence of the child support order in effect at the relevant time, if it had

been included in the factual findings, would support a conclusion that respondent had

the ability to pay some portion of the cost of care for the juvenile. In re J.D.S., 170

N.C. App. 244, 257, 612 S.E.2d 350, 358 (quoting In re Roberson, 97 N.C. App. 277,

281, 387 S.E.2d 668, 670 (1990)), cert. denied, 360 N.C. 64, 623 S.E.2d 584 (2005) (“In

a termination action pursuant to this ground, petitioner must prove the existence of

a support order that was enforceable during the year before the termination petition

was filed. . . . Because a proper decree for child support will be based on the supporting

parent’s ability to pay as well as the child’s needs, . . . there is no requirement that

petitioner independently prove or that the termination order find as fact respondent’s

ability to pay support during the relevant statutory time period.” (alterations in

original)). Where, as in this matter, the “trial court’s adjudicatory findings were

insufficient to support its conclusion that termination of the parent’s rights was
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       warranted, but the record contained additional evidence that could have potentially

       supported a conclusion that termination was appropriate,” we “vacate[ ] the trial

       court’s termination order and remand[ ] the case for further proceedings, including

       the entry of a new order containing findings of fact and conclusions of law addressing

       the issue of whether [the] ground for termination existed.” In re K.N., 373 N.C. at

       284, 837 S.E.2d at 869.4

¶ 18          The dissent, urging the opposite result, argues that the trial court’s findings of

       fact 11 and 17(c) were supported by the record and support the trial court’s conclusion

       to terminate respondent-father’s parental rights pursuant to N.C.G.S. § 7B-

       1111(a)(4). However, neither those nor any of the other findings of the trial court

       establish the existence of a child support order at the relevant time. In arguing that

       the record evidence supports the result below, it appears that the dissent is conflating

       the record with the factual findings of the trial court. However, it is our role to review




              4   The dissent incorrectly suggests that on the question of whether a remand is
       necessary for factual findings, this case is controlled by In re A.U.D., 373 N.C. 3, 10–11, 832
       S.E.2d 698, 702–03 (2019). In that case, we declined to remand to the trial court for written
       findings on specific factors that the trial court must consider during the best interests phase
       of the proceeding. In re A.U.D., 373 N.C. 3, 11, 832 S.E.2d 698, 703 (2019). Critically, N.C.G.S.
       § 7B-1110(a) does not require written findings as to each factor. Id. at 10, 832 S.E.2d at 703.
       Because the trial transcript demonstrated that the trial court had carefully considered each
       factor, satisfying the statutory requirement, we concluded that remand for written findings
       on each factor “would be an elevation of form over substance.” Id. at 11, 832 S.E.2d at 703. In
       any case, even were we to adopt the dissent’s view that written findings are never required
       for uncontested facts, the uncontested evidence in this case does not establish that a child
       support order was in place during the relevant time period—namely, the year preceding the
       filing of the termination petition. See N.C.G.S. § 7B-1111(a)(4).
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       the trial court’s factual findings to determine whether they support the trial court’s

       conclusions of law. See, e.g., In re E.H.P., 372 N.C. at 392, 831 S.E.2d at 52. As the

       Court of Appeals has stated, “[i]t is the role of the trial court and not [the appellate

       court] to make findings of fact regarding the evidence.” In re F.G.J., 200 N.C. App.

       681, 693, 684 S.E.2d 745, 754 (2009); see also In re K.N., 373 N.C. at 283, 837 S.E.2d

       at 868 (rejecting argument of petitioner that evidence in the record supported

       affirmance of trial court’s ultimate conclusions and instead looking to “the trial

       court’s actual findings”).

¶ 19         This principle has long been followed by our courts. As Justice Exum explained

       forty years ago:

                    The purpose of the requirement that the court make
                    findings of those specific facts which support its ultimate
                    disposition of the case is to allow a reviewing court to
                    determine from the record whether the judgment–and the
                    legal conclusions which underlie it–represent a correct
                    application of the law. The requirement for appropriately
                    detailed findings is thus not a mere formality or a rule of
                    empty ritual; it is designed instead “to dispose of the issues
                    raised by the pleadings and to allow the appellate courts to
                    perform their proper function in the judicial system.”

       Coble v. Coble, 300 N.C. 708, 712, 268 S.E. 2d 185, 189 (1980) (quoting Montgomery

       v. Montgomery, 32 N.C. App. 154, 158, 231 S.E.2d 26, 29 (1977) and citing Crosby v.

       Crosby, 272 N.C. 235, 158 S.E. 2d 77 (1967)). In deciding whether a trial court’s award

       of alimony followed the requirements of applicable statutes, this Court explained:

                    The requirement of special fact-finding did not begin with
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             implementation of our present Rules of Civil Procedure. In
             Martin v. Martin, 263 N.C. 86, 138 S.E. 2d 801 (1964) (per
             curiam), this Court reviewed a trial court order which
             directed alimony pendente lite and child support payments.
             The trial court made only limited findings of [fact] about
             the defendant’s financial circumstances. The hearing had
             been on affidavits and defendant submitted his own
             uncontradicted affidavit indicating his dire financial
             situation. However, no findings of fact concerning the
             matters in the affidavit were made. This Court stated, in
             remanding to the trial court:

             If the facts set out in defendant’s affidavit are true, the
             payments required of defendant are clearly excessive,
             unrealistic and beyond the limits of judicial discretion. The
             court made no specific findings with respect to the matters
             set out in the affidavit, and it does not appear whether they
             were considered. 263 N.C. at 87–88, 138 S.E. 2d at 802             (emphasis added).

Quick v. Quick, 305 N.C. 446, 452–53, 290 S.E.2d 653, 658 (1982). In the termination

of parental rights context, this has long been the rule as well. See, e.g., In re T.P.,

197 N.C. App. 723, 730, 678 S.E.2d 781, 787 (2009) (“We have little doubt after

studying the record that there existed evidence from which the trial court could have

made findings and conclusions to support its orders for termination of parental rights.

Unfortunately, the skeletal orders in the record are inadequate to allow for

meaningful appellate review.”); In re B.G., 197 N.C. App. 570, 574, 677 S.E.2d 549,

552 (2009) (“Although there may be evidence in the record to support a finding that

Respondent acted inconsistently with his custodial rights, it is not the duty of this

Court to issue findings of fact.”). The dissent’s position would have us make factual
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       findings for the trial court on a fundamental and material fact, which is not how we

       have applied the standard of review in these cases. As we did recently in In re K.N.,

       and In re N.D.A., we are compelled to remand for further factual findings on this

       ground. See In re K.N., 373 N.C. at 284, 837 S.E.2d at 868; In re N.D.A., 373 N.C. 71,

       84, 833 S.E.2d, 768, 777 (2019).

¶ 20         In summary, the portions of the trial court’s order concluding that respondent’s

       parental rights were subject to termination under N.C.G.S. § 7B-1111(a)(1) and (6)

       are reversed. The portion of the trial court’s order adjudicating grounds for

       termination under N.C.G.S. § 7B-1111(a)(4) is vacated and remanded for further

       proceedings not inconsistent with this opinion, including the entry of a new order

       containing findings of fact and conclusions of law addressing whether there was a

       child support order in place that was enforceable during the year before the

       termination petition was filed and the issue of whether respondent willfully failed to

       pay support for Cash without justification. The trial court may, in the exercise of its

       discretion, receive additional evidence on remand if it elects to do so. See In re K.N.,

       373 N.C. at 285, 837 S.E.2d at 869.

             REVERSED IN PART; VACATED AND REMANDED IN PART.
             Justice BARRINGER dissenting.


¶ 21         Based on a review of the record, respondent-father did not preserve for appeal

       the issue of whether petitioner-mother proved the existence of a child support order

       to terminate respondent-father’s parental rights under N.C.G.S. § 7B-1111(a)(4).

       Moreover, even if respondent-father had preserved the issue for appeal, the trial

       court’s findings are sufficient to support the conclusion that grounds for termination

       existed pursuant to N.C.G.S. § 7B-1111(a)(4).

¶ 22         N.C.G.S. § 7B-1111(a)(4) states:

                    (a) The court may terminate the parental rights upon a
                    finding of one or more of the following:

                    ....

                    (4) One parent has been awarded custody of the juvenile
                    by judicial decree or has custody by agreement of the
                    parents, and the other parent whose parental rights are
                    sought to be terminated has for a period of one year or more
                    next preceding the filing of the petition or motion willfully
                    failed without justification to pay for the care, support, and
                    education of the juvenile, as required by the decree or
                    custody agreement.

¶ 23         Here, respondent-father admitted that a child support order existed.

       Specifically, respondent-father admitted to the following allegation in his answer to

       petitioner-mother’s petition for termination:

                    Within [Cabarrus County File Number: 11-CVD-961], the
                    Petitioner and Respondent entered into a child support
                    consent order wherein the Respondent agreed to pay the
                    Plaintiff the sum of $433 per month and fifty percent (50%)
                    of any uninsured medical bills after the first $250 is paid
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                                            Barringer, J., dissenting



                       by the Petitioner.

¶ 24         Respondent-father never moved to amend his answer or otherwise present to

       the trial court any reason to disregard this admitted allegation. See N.C. R. App. P.

       10(a)(1). It is well-established law in this state that an admission in an answer binds

       the answering party and renders the fact uncontested. See Harris v. Pembaur, 84

       N.C. App. 666, 670 (1987) (“Facts alleged in the complaint and admitted in the answer

       are conclusively established by the admission.” (citing Champion v. Waller, 268 N.C.

       426 (1966))).

¶ 25         In re I.R.L., 263 N.C. App. 481 (2019)1 is incorrectly relied upon by respondent-

       father and the majority. On the contrary, the controlling precedent established by

       this Court is found in In re A.U.D., 373 N.C. 3, 10–11 (2019), where this Court held

       that “a remand by this Court to the trial court for written findings on these

       uncontested issues—a disposition for which our dissenting colleague appears to be

       advocating—would be an elevation of form over substance and would serve only to

       delay the final resolution of this matter for the children.” Affirming the trial court’s

       termination of parental rights in this case does not involve improperly finding facts

       that a child support order exists, as the majority contends. Here, the fact of the




             1 While the majority relies on this decision from the Court of Appeals, it is worth

       noting that decisions from the Court of Appeals are only persuasive, not binding authority
       on this Court in cases not previously adopted.
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                                              2021-NCSC-1

                                         Barringer, J., dissenting



       existence of a child support order is uncontested by respondent-father’s admission in

       his answer to petitioner-mother’s allegation in her petition for termination.2 To

       remand this case and direct the trial court to make findings of fact on a fact already

       uncontested by both parties is “an elevation of form over substance.” Id.
¶ 26         Moreover, In re I.R.L. is distinguishable from the instant case. In that case,

       the “trial court’s termination order [was] devoid of any findings indicating that a child

       support order existed or that [the f]ather failed to pay support ‘as required by’ the

       child support order,” and the only evidence supporting the existence of a child support

       order was the testimony of both parties. Id. at 486.

¶ 27         In this case, the trial court determined that “[t]he Respondent-father paid no

       support, whether child support or other monetary support for the benefit of the minor

       child since September 2015, over four years next preceding the filing of this

       [termination].” Respondent-father did not challenge finding of fact 11 in the trial

       court’s termination order. Unchallenged findings of fact are “deemed supported by




             2 Moreover, a review of the record indicates that the parties apparently considered the

       issue of whether there was a child support order to be settled. Petitioner-mother, in her
       testimony during direct examination responded that there was a child support order in place
       for the minor child. On cross examination of the petitioner-mother, the respondent-father’s
       attorney did not question her regarding her testimony regarding the child support order. On
       direct examination, the respondent-father testified that he paid money in accordance with
       “the legal agreement we had.”
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                                             2021-NCSC-1

                                        Barringer, J., dissenting



       competent evidence and are binding on appeal.” In re T.N.H., 372 N.C. 403, 407
       (2019). Therefore, finding of fact 11 is binding on this Court.

¶ 28         Finding of fact 11 is also supported by sufficient evidence. Respondent-father

       admitted that “Petitioner[-mother] and Respondent[-father] entered into a child

       support consent order wherein the Respondent[-father] agreed to pay the [Petitioner-

       mother] the sum of $433 per month.” The uncontroverted evidence showed that there

       was a child-support order in place for Cash, the biological child of petitioner-mother

       and respondent-father, and that the last payment respondent-father made was in

       September 2015.

¶ 29         The record additionally supports the trial court’s finding of fact 17(c) that

       respondent-father willfully failed to pay child support. Respondent-father testified

       that he intentionally withheld financial support from Cash. Respondent-father

       testified that he was employed. When asked about his financial assistance after the

       25 February 2018 incident and the loss of his visitation rights, respondent-father

       responded as follows: “I’m not going to give the money when I’m not even allowed to

       spend time with my son.” Also, respondent-father did not give any justification for his

       failure to pay child support after the 25 February 2018 incident and admitted he was

       currently employed as a subcontractor and had worked as a contractor for most of his

       life. On this record, there is sufficient evidence to find that respondent-father had

       willfully and without justification failed to pay child support for four years.
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                                              2021-NCSC-1

                                         Barringer, J., dissenting



¶ 30         Respondent-father argues that finding of fact 17(c) should be treated as a

       conclusion of law and raises that the trial court used the same language in its third

       conclusion of law. The majority seems to implicitly adopt this argument. However, a

       finding that an act is willful is determined by the trier of fact whether it be a jury or

       the trial court. In re K.N.K., 374 N.C. 50, 53 (2020) (“The willfulness of a parent’s

       actions is a question of fact for the trial court.”); see also Brandon v. Brandon, 132

       N.C. App. 646, 651 (1999) (“Where the trial court sits as the finder of fact, ‘and where

       different reasonable inferences can be drawn from the evidence, the determination of

       which reasonable inference shall be drawn is for the trial [court].’ ” (alteration in

       original)). Plainly, the determination of whether a parent is acting willfully is a

       finding of fact and not a conclusion of law. In re J.S., 374 N.C. 811, 818 (2020). Finding

       of fact 17(c) is therefore properly classified as a finding of fact in the trial court’s

       termination order.

¶ 31         In conclusion, respondent-father’s admission in his answer to petitioner-

       mother’s allegation that he had entered into a consent child support order makes its

       existence an uncontested fact. Additionally, the trial court’s findings of fact 11 and

       17(c) were supported by sufficient evidence in the record and support the trial court’s

       conclusion to terminate respondent-father’s parental rights pursuant to N.C.G.S.

       § 7B-1111(a)(4) for willfully failing to pay child support without justification.

¶ 32         For these reasons, the decision of the trial court should be upheld on the ground
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                                      2021-NCSC-1

                                 Barringer, J., dissenting



for termination pursuant to N.C.G.S. § 7B-1111(a)(4).3 Accordingly, I respectfully

dissent.

      Chief Justice NEWBY and Justice BERGER join in this dissenting opinion.




      3  Since I would affirm the trial court’s termination pursuant to N.C.G.S § 7B-
1111(a)(4) and only one termination ground is required under N.C.G.S. § 7B-1111(a), it is
unnecessary to reach the remaining grounds found by the trial court.
